        Case 2:19-cr-00117-JLR Document 103 Filed 06/17/21 Page 1 of 3




                                                                  Honorable James Robart
                         UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF WASHINGTON, SEATTLE

UNITED STATES OF AMERICA,                    )
                                            ).       No. CR19-117 JLR
                           Plaintiff,       )
                                            )        DEFENSE REQUEST FOR
                                            )        REASONABLE NOTICE OF
              v.                            )        GOVERNMENT’S INTENDED
                                            )        USE OF ER 404(b) EVIDENCE
SHAWNA REID,                                )
                                             )
                    Defendant.              )
__________________________                  )

       Defendant Shawna Reid, through undersigned counsel and pursuant to ER

404(b), requests that the government provide her with reasonable notice, in advance

of trial, of the general nature of any and all evidence that the government will seek

to introduce under that rule for any purpose.

                                           Argument

       In order to effectively prepare for trial the defense must understand the

particular evidence, if any, that the government plans to present as “other crimes,

wrongs, or acts” under ER 404(b). That rule explicitly requires the prosecution to

provide reasonable notice in advance of trial of its intention to present 404(b) evidence,

if the accused has requested the notice.

       The policy behind 404(b) is "to reduce surprise and promote early resolution on
                                                                               Michael Nance
                                                                             Attorney at Law
                                                                               P.O. Box 11276
                                                                 Bainbridge Island, WA 98110
                                                 1                             (206) 624-3211
        Case 2:19-cr-00117-JLR Document 103 Filed 06/17/21 Page 2 of 3




the issue of admissibility." United States v. Perez-Tosta, 36 F.3d 1552, 1560 (11th Cir.

1994). In considering the reasonableness of pretrial notice under 404(b) the court

should consider several factors: (1) when the government, through timely

preparation for trial, could have learned of the availability of the evidence; (2) the

extent of prejudice to the opponent of the evidence from a lack of time to prepare; and

(3) the significance of the evidence to the prosecution's case. Id.

       The government should specify now what it will seek to admit under ER 404(b) to

facilitate proper preparation, allow the consideration of appropriate in limine motions,

and lessen the risk of mistrial.

       Dated this 17th day of June, 2021.


                                          /s/ Michael Nance, WSBA #13933
                                          /s/ Robert Gombiner, WSBA #16059
                                          Defense Attorneys




                                                                                Michael Nance
                                                                              Attorney at Law
                                                                                P.O. Box 11276
                                                                  Bainbridge Island, WA 98110
                                             2                                  (206) 624-3211
        Case 2:19-cr-00117-JLR Document 103 Filed 06/17/21 Page 3 of 3




                                  Certificate of Service

       I hereby certify that on the 17th day of June, 2021, I electronically filed the

foregoing with the clerk of the court using the CM/ECF system. Notice of this filing

willbe sent electronically to counsel of record for other parties.


                                      /s/ Michael Nance
                                      email: michaelnancelaw@gmail.com




                                                                                   Michael Nance
                                                                                 Attorney at Law
                                                                                   P.O. Box 11276
                                                                     Bainbridge Island, WA 98110
                                              3                                    (206) 624-3211
